~ Case

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BURKE, SCOLAMIERO,
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Attorne)).s and Counselors at Law

S.eptember 8, 2017

Via Electronic Filing
Honorable Christian F. Hurnmel

U.S. District Court

Northern District of NeW York
445 Broadway, Room 441
Albany, New York 12207-2974

 

Re: Albanv Airport HIE, LLC v. Hanover Insurance Groun, et. al.
Case No.: 1:17-CV-554 DNH/CFH
Our File No.: 161.012

Dear Magistrate Hummel:

Please be advised that the mediation has been scheduled for Wednesday, October
25, 2017 at 11:00 a.rn. at my Albany office regarding the above-entitled matter.

Should Your Honor require anything further, please do not hesitate to contact

 

me.
Very truly yours,
BURKE, SCOLAMIERO, MORTATI & HURD, LLP
By:

JEH:rnrb

 

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